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r‘tO 458 {Rev. 06.'09) Appcamnce o|`Counsc|

UNITED STATES DISTRICT COURT

for the

Western District of Pennsylvania

SD_UEOLC_HBI[E_BJ| )
P!al'nttli" )
v. ) Case No. 2:1B-cv-00199
EE _C_|`!'_Y_DMSB_LBG_|'|_._e_t_e!-._ )
De_'fendam )
APPEARANCE OF COUNSEL
To: The clerk of court and all parties of record

I am admitted or otherwise authorized to practice in this court, and l appear in this case as counsel for:

MBM._THE ClTY DF FlTTSBL|RGi-|

Date: _ ____q§;_ghggt$ ____ _ __ sg§EZ|B_Qt L\`[_&ILOR, AssistantQi!-;_ So|icitor_

rlrt'arncy '.\' signature

KEZIA O. L. TFLYLUR P.A l_D. 203?59
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